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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                    EXHIBIT 7
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  1                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
  2                            COLUMBIA DIVISION
                     CASE NO. 3:21-CV-03302-MBS-TJH-RMG
  3
          THE SOUTH CAROLINA STATE CONFERENCE OF
  4       THE NAACP, AND TAIWAN SCOTT, ON BEHALF
          OF HIMSELF AND ALL OTHER SIMILARLY
  5       SITUATED PERSONS,
  6                   Plaintiffs,
  7              vs.
  8       THOMAS C. ALEXANDER, HENRY D. MCMASTER,
          IN HIS OFFICIAL CAPACITY AS GOVERNOR OF
  9       SOUTH CAROLINA; HARVEY PEELER, IN HIS
          OFFICIAL CAPACITY AS PRESIDENT OF THE
10        SENATE; LUKE A. RANKIN, IN HIS OFFICIAL
          CAPACITY AS CHAIRMAN OF THE SENATE
11        JUDICIARY COMMITTEE; JAMES H. LUCAS, IN
          HIS OFFICIAL CAPACITY AS SPEAKER OF THE
12        HOUSE OF REPRESENTATIVES; CHRIS MURPHY,
          IN HIS OFFICIAL CAPACITY AS CHAIRMAN OF
13        THE HOUSE OF REPRESENTATIVES JUDICIARY
          COMMITTEE; WALLACE H. JORDAN, IN HIS
14        OFFICIAL CAPACITY AS CHAIRMAN OF THE
          HOUSE OF REPRESENTATIVES ELECTIONS LAW
15        SUBCOMMITTEE; HOWARD KNABB, IN HIS
          OFFICIAL CAPACITY AS INTERIM EXECUTIVE
16        DIRECTOR OF THE SOUTH CAROLINA STATE
          ELECTION COMMISSION; JOHN WELLS, JOANNE
17        DAY, CLIFFORD J. ELDER, LINDA MCCALL,
          AND SCOTT MOSELEY, IN THEIR OFFICIAL
18        CAPACITIES AS MEMBERS OF THE SOUTH
          CAROLINA STATE ELECTION COMMISSION,
19
                          Defendants.
20
21        DEPOSITION OF:         ANDREW THEODORE FIFFICK
                                 (Appearing via VTC)
22
          DATE:                  July 21, 2022
23
          TIME:                  10:10 a.m.
24
25

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 1       everyone, but it was something that was on the back
 2       end so that outside counsel could check for.                       And
 3       again, I'm not the expert here.                   My impression is
 4       that on the back end, outside counsel might want to
 5       look at what I think is called the Section 2 claim
 6       where you might need to use racial data.                   But it's
 7       my understanding there is no Section 2 claim and I
 8       don't recall outside counsel ever, you know,
 9       needing to use that data.             But that data was
10       available to everybody, and anybody who asked for
11       it, that sort of data was to go to them for sure.
12                  Q.   And when you refer to outside counsel
13       having looked at it, are you referring to -- you
14       mentioned Mr. Terreni, you mentioned Mr. Gore, and
15       you mentioned Mr. Tyson.            Is that who you're
16       referring to?
17                  A.   I don't recall Mr. Tyson doing a whole
18       lot of review.      It was kind of a hierarchal thing.
19       You know, Charlie was more involved because he's
20       here.      You know, we would bounce it off of Charlie
21       and then Charlie would send it on to John Gore.
22                       And there really were very few maps so
23       it wasn't a whole lot of review.                   I don't think we
24       drew more than 20 maps that outside counsel saw, if
25       that, probably less than that.                Probably less than

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 1       five or six maps actually went to outside counsel
 2       that we drew.        But the buck really stopped with
 3       John Gore.        It would have been a John Gore
 4       question.        Hey, John, does this pass the legal test
 5       that you're aware of with your 20 something years
 6       of experience with redistricting.
 7                  Q.     So to some understanding, there may
 8       have been 20 congressional maps drawn, but 6 of
 9       them -- around 6 of them, you say, filtered up to
10       John Gore who gave the final approval about whether
11       or not what?
12                  A.     It's been a minute since this happened,
13       but my recollection is that's a ballpark.                        Yeah,
14       I'd say maybe two dozen maps and maybe, you know,
15       five or six sent up the food chain.                   And I guess
16       that perhaps maybe if you expanded to include, for
17       example, your map -- your two maps, I think you
18       sent us.        I think we sent those to John Gore as
19       well, but I don't remember him weighing in on them,
20       you know, in the same way he might have with us.
21       So maybe if you included outside folks' maps, maybe
22       it is more than five or six, but again I don't
23       specifically recall exactly.                 I mean, ultimately I
24       think there were two maps that were sort of
25       numbered wrong.        I think that would have been

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 1       Senator Harpootlian's and Senator Campsen's.
 2                       And then there were other maps that
 3       members -- and I believe, if you recall, I even
 4       left you a voicemail about Senator Hutto wanting to
 5       present your all's maps, you know, on your all's
 6       behalf on the floor.         I don't recall if we had John
 7       Gore look at those or not.               But those would be the
 8       three or four extra maps, you know, outside
 9       submitted maps that would have gone up the food
10       chain.
11                  Q.   And so the six that you're talking
12       about or ballpark six that you're talking about
13       that more than likely went to Mr. Gore, those were
14       all maps drawn by the legislature not including the
15       public?
16                  A.   I don't remember if we sent him the
17       public maps or not.         I do remember that there was
18       no request for those maps to be looked at until at
19       the very earliest would have been those couple days
20       before the bill was on the floor the morning that I
21       left a voice mail for you to say, hey, you know, if
22       y'all want to submit something about your maps, do
23       that.      I don't recall that there was any sort of
24       rigorous analysis on John Gore's part with those
25       maps, but maybe there was.               I could be mistaken.

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 1                  Q.   And the bill on the floor, you would be
 2       talking about mid-January or so?
 3                  A.   I think it would have been 19th, 20th,
 4       22nd, somewhere in that timeframe, yes, ma'am.
 5                  Q.   Were you the person who was responsible
 6       for sending those maps to Mr. Gore?
 7                  A.   It would have been a shared thing.                     It
 8       would have been -- you know, it could have been
 9       from Breeden.      It could have been from Will.                   I
10       mean, it could have been from me.                   It probably was
11       from Will because all that stuff was on his laptop
12       so I would imagine it was Will.                   But one of us
13       could have hit send instead of him.                   Most of the
14       time -- that was his laptop.               He made sure that was
15       his stuff.      He was the guy that drew the maps so I
16       would say my best recollection right now is that
17       Will would have sent the maps to Gore.
18                  Q.   And you mentioned Breeden.               Is that
19       Breeden John?
20                  A.   Yes, ma'am.
21                  Q.   And you mentioned Will.               That's Will
22       Roberts?
23                  A.   Yes, ma'am.
24                  Q.   And who was the third person you
25       mentioned?

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 1       the substance of the communication that may have
 2       been communicated back.           I'm just interested in how
 3       it was communicated back and specifically by email,
 4       by phone, by text, a combination thereof?
 5                  A.   It was phone.         It was phone.        There
 6       might be some emails out there.                   If there are,
 7       y'all have got them.         I don't think so.            It was
 8       easier for him to just look at the map and talk to
 9       us and say thumbs up, thumbs down.                   And, you know,
10       he said thumbs up on the one busting the task.
11       BY MS. ADEN:
12                  Q.   How many of those meetings do you think
13       you had?
14                  A.   Meetings with who?
15                  Q.   Mr. Gore by phone.
16                  A.   Phone calls with Mr. Gore about
17       congressional maps?
18                  Q.   Yes.
19                  A.   Maybe half a dozen.               And they were all
20       here's a map, do you think it's okay?
21                  Q.   So you mentioned about six maps went to
22       Mr. Gore so you think approximately six calls or do
23       you think there were more calls about --
24                  A.   I don't think there were more calls --
25       I don't think there were more calls than maps.                        I

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 1       mean, these maps were -- everything about these
 2       maps was pretty easy to see down in the Charleston
 3       area so it wasn't something that was difficult.                          So
 4       I would say about the same number of calls as maps.
 5       And again, I could be wrong about the number of
 6       maps, but ballparking it, that's kind of where I
 7       get the number.
 8                  Q.   Can you tell me who else was on those
 9       calls besides when you were on them?
10                  A.   Those calls would have been made with
11       us sitting in Luke Rankin's office with a map on
12       the wall where Charlie Terreni -- at the very
13       least, Charlie Terreni, myself, Will Roberts, and
14       Breeden John would have been in there.
15                       It's possible here and there that Paula
16       Benson could have been in there.                  It's possible
17       here and there that Maura Baker could have been in
18       there.      But those are the people that could have
19       been in those calls.
20                       I don't recall exactly who was there.
21       But at a minimum, I'm sure it would be at the very
22       least me, Charlie Terreni, and Will Roberts
23       because, like I said, Will always was who was
24       running the laptop, Charlie was my initial outside
25       counsel, and I was there.

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 1       him or vice versa or were you equal colleagues?
 2       How would you define that working relationship?
 3                  A.   I would call us equal colleagues in
 4       terms of the administrative situation, but I would
 5       say that, you know, having known him and knowing
 6       that he's been a lawyer for 20 years longer than
 7       me, I defer to him on anything because I trust him.
 8       He's a smart guy.       I mean, technically speaking, if
 9       you look at a command chain, you know, I'm chief of
10       staff.      We hired Charlie, but, you know, the
11       practical matter this is his third redistricting
12       and my first.      Colleagues with great deference to
13       him I would say.
14                  Q.   And in terms of hierarchy, is it fair
15       to say the decision of Mr. Gore trumped the
16       decision of both you and Mr. Terreni with respect
17       to congressional mapping?
18                  A.   If it came down to it, yes, but I don't
19       recall a situation where Charlie Terreni disagreed
20       with John Gore.      So as a practical matter, yes, we
21       would have gone up the food chain to the DC
22       lawyers, but in reality, I don't remember that ever
23       happening.
24                  Q.   And how would you describe your working
25       relationship with Mr. Breeden?                Did he report to

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  1       you assisted in crafting legislation for the House?
  2                   A.    For the House, no.
  3                   Q.    For the Senate?
  4                   A.    Well, I mean, yeah.                I take that back.
  5       Yes.       Yeah, because I work for the House not the
  6       capacity with the Senate I've not worked -- well, I
  7       guess, yeah.        Thinking, yeah, we do work on stuff
  8       together.        So, yeah.      That incident, yes.
  9                   Q.    And that's like the nuts and bolts of
 10       coming up with a bill?
 11                   A.    Correct.
 12                   Q.    Okay.    And have you assisted in your
 13       current or past positions with shepherding
 14       legislation through the legislative process?
 15                   A.    Yes.    And by shepherding, I'm not sure
 16       what you mean there, but I think yes.                      The answer
 17       is yes.
 18                   Q.    What is your role -- describe for me
 19       what you believe to have been your role in
 20       developing congressional maps this cycle.
 21                   A.    Meeting with members, having them tell
 22       me, Will Roberts, Charlie Terreni, Breeden John,
 23       Maura Baker to a lesser extent, Paula how they
 24       thought the maps should be drawn and watching Will
 25       Roberts draw it and then submitting it, you know,

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  1       to Charlie Terreni and John Gore for them to tell
  2       us whether or not that they were kosher.                       And I
  3       think one of the things I made a point on my
  4       personal level is making sure that the door was
  5       open to anyone who needed to come to me -- in terms
  6       of the members, if any member wanted to come in and
  7       talk to us, I wanted to make sure nobody was left
  8       out.
  9                  Q.     Did you have ideas for how the
 10       congressional map should look?
 11                  A.     Not really no, I didn't.             I mean, we
 12       deferred to the members on that.                   That's above my
 13       pay grade.
 14                  Q.     Deferred to members and deferred to
 15       Mr. Gore?
 16                  A.     Deferred to members and then, I mean, I
 17       wouldn't say I deferred to Mr. Gore in how to draw
 18       the map.        We did defer to Mr. Gore and Mr. Terreni
 19       on whether or not that they were legally sound maps
 20       for sure.
 21                  Q.     What did you understand would be a
 22       legally sound map?
 23                  A.     I mean, there's lots of different --
 24       it's more of what wouldn't have been sound from my
 25       understanding.        This is my first rodeo for

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  1       adopted from prior redistricting, the 2002 opinion
  2       of the three-judge court in Colleton County v.
  3       McConnell, the 2012 opinion of the three-judge
  4       court in Backus v. South Carolina, other court
  5       decisions, and input received in public hearings
  6       across the State.
  7                  Q.   Let me ask you have you read the
  8       decisions in the Colleton County Council in the
  9       Backus case that are cited here?
 10                  A.   It's been a long time but, yes.
 11                  Q.   A long time meaning when approximately?
 12                  A.   It would have been back in August,
 13       July, September, somewhere in there.
 14                  Q.   Of 2021?
 15                  A.   Yeah.    Yeah.       That's right.
 16                  Q.   Do you know what other court decisions
 17       are being referred to in that last clause?
 18                  A.   I don't.
 19                  Q.   And the input received in public
 20       hearings across the state, what is that referring
 21       to?
 22                  A.   The aggregated public testimony that
 23       they had in those roads shows.
 24                  Q.   So it's your position -- is Ms. Benson
 25       the only person responsible for developing these

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  1       guidelines or did you have some role in that?
  2                  A.   No, I had no role in developing them.
  3       We did run these up the food chain just like
  4       anything else through Charlie Terreni and John
  5       Gore.
  6                  Q.   You said Charlie Terreni and John Gore
  7       also reviewed these?
  8                  A.   Yes, ma'am, I'm sure they did.                I don't
  9       recall the specific instance of them reviewing it,
 10       but I'm sure they looked it over.
 11                  Q.   And what was their role in reviewing
 12       them?
 13                  A.   To sign off on them as being reasonable
 14       or accurate and --
 15                  Q.   Legally sound?
 16                  A.   Legally sound.           That's a good way to
 17       put it.
 18                  Q.   Outside of the things listed in this
 19       paragraph, were there any other sources consulted
 20       to develop these guidelines?
 21                  A.   And I'm sure in the review of these
 22       guidelines by Charlie Terreni, Paula Benson, and
 23       John Gore, I'm not sure what other resources they
 24       used, but I think their collective experience was
 25       part of it.       It's not necessarily mentioned there,

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  1       us presenting the information and the maps to our
  2       outside experts who then decided whether or not
  3       they passed federal common law.
  4                  Q.   Are you aware of whether race data was
  5       loaded into the computer that y'all shared in the
  6       map room?
  7                  A.   Oh, yeah.     It was, yeah, for sure.
  8                  Q.   Was it on a screen projected on the
  9       wall at any time as you were developing maps?
 10                  A.   I was not developing maps, but as
 11       members came in and wanted to talk about maps, yes,
 12       members came in and asked about those numbers.
 13                  Q.   For the maps that were transmitted to
 14       Mr. Terreni and Mr. Gore, did they include
 15       associated data with them?
 16                  A.   I'm sure they did.           I'm sure Charlie
 17       Terreni saw the associated data when he was in the
 18       room and I'm sure Will would bring set statistics
 19       to John Gore when they sent any map to us.
 20                  Q.   And are you aware of whether race data
 21       was one of the categories of data that was part of
 22       that?
 23                  A.   I believe it was, yeah.
 24                  Q.   What other ways was race considered as
 25       maps were developed, congressional maps were

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  1       just provide the legal guidance that you've been
  2       talking about since the beginning of the day?
  3                        MR. TYSON:        Asked and answered.
  4       BY MS. ADEN:
  5                  Q.    Did he draw lines?             I know he was --
  6       did he draw lines?
  7                  A.    He wasn't physically on the computer.
  8       Will was always on the computer.
  9                  Q.    Was he sitting next to Mr. Roberts
 10       directing him about where lines might go?
 11                  A.    Yeah.    I mean, Will was drawing these
 12       things and, you know, if somebody noticed that,
 13       hey, you might want to follow that river because
 14       it's a geographic boundary or something, I don't
 15       remember, you know.           But, I mean, yeah, he would
 16       have been commenting about the map.                   I wouldn't say
 17       he drew it though.
 18                  Q.    Did you provide that type of
 19       directions, you know, follow the river?                    Did you
 20       provide that type of guidance to Mr. Roberts?
 21                  A.    We all kind of commented on it all
 22       together.       I mean, it was sort of an aggregate of
 23       people discussing.          And then we got the map
 24       together, and I think we sent it to John Gore, and
 25       then we gave it to the subcommittee, and then they

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  1       did what they wanted to do with it from there.
  2                  Q.     Did any subcommittee members have
  3       involvement in the development of that initial
  4       staff map?
  5                  A.     I think we may have spoken to some of
  6       them.      I don't recall.        It would have been broad
  7       strokes.        You know, it would have been like -- it
  8       wouldn't have been -- I don't believe they sat in
  9       the map room like they did subsequently.                       I could
 10       be wrong.        I may be mistaken, but I don't recall
 11       that.
 12                  Q.     And those conversations with any
 13       subcommittee members would have happened
 14       informally, not because they came together in a
 15       meeting of the subcommittee?
 16                  A.     That's right.        It would have been
 17       informally.
 18                  Q.     And were there any involvement from
 19       House staff members in the development of this
 20       initial Staff Plan?
 21                  A.     General trend setting, ma'am, because
 22       they gave me a separate thing, a separate one sheet
 23       paper map that's similar.
 24                  Q.     Outside of the people that you
 25       identify, Mr. Roberts, Mr. Terreni, yourself, and

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  1       on different testimony and different criteria in
  2       the maps.
  3                   Q.   What data did you rely on to develop
  4       the initial Staff Plan?
  5                   A.   Census data.        I don't remember the
  6       extent to which we relied on political data, but I
  7       assume we did because they wanted the least change
  8       map.       I'm almost positive we at some point had
  9       instruction from somebody, maybe Senator Campsen,
 10       to make sure that Congressional District 1 retained
 11       its political numbers.            I can't recall for sure.
 12                   Q.   How many meetings were held to develop
 13       this initial plan?
 14                   A.   I don't remember.
 15                   Q.   More than one?
 16                   A.   Oh, yeah.      I'm sure.
 17                   Q.   How many versions of the initial Staff
 18       Plan became the one that was introduced on the
 19       23rd?
 20                   A.   I don't recall.
 21                   Q.   Were the guidelines consulted during
 22       development of the initial Staff Plan?
 23                   A.   Yes.
 24                   Q.   And who assessed whether the guidelines
 25       had been followed in the development of this

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  1       initial Staff Plan?
  2                  A.   I think in the initial phase, it would
  3       have been, you know -- Charlie would have been the
  4       main word in the room whether or not we were
  5       following the guidelines appropriately.                 Paula was
  6       in the room; I was in the room; will was in the
  7       room; Breeden was in the room.               I don't know that
  8       any one of us, you know, assumed the primary
  9       enforcer of guidelines, but clearly Charlie's
 10       experience and Will's experience and Paula's
 11       experience, they had, you know, more experience.
 12       So they had more experience, I suppose.
 13                       And then I do believe we sent it to
 14       Gore before we published it as the Staff Plan.                    I'm
 15       almost positive we did.
 16                  Q.   I probably will not go through all the
 17       criteria, but without doing that, is it your
 18       position that multiple people assessed whether the
 19       one person, one vote had been complied with with
 20       the initial Staff Plan or was there one person?
 21                  A.   With that with one person, one vote, I
 22       would say that was just Will with his computer
 23       because, I mean, he could see it.                He could get it
 24       down to one person, one, you know, deviation.                    That
 25       wasn't a judgment call really, that was just a

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  1                       MR. TYSON:       Objection; asked and
  2       answered numerous times.
  3                       THE WITNESS:        No.      Not to my knowledge,
  4       no.
  5       BY MS. ADEN:
  6                  Q.   Who would have been responsible for
  7       making the assessment that the initial Staff Plan
  8       was not a racial gerrymander?
  9                  A.   We would have relied upon Charlie
 10       Terreni and John Gore.
 11                  Q.   What about whether the districts were
 12       contiguous?       Who would have made that assessment in
 13       the initial Staff Plan?
 14                  A.   It would have probably been -- Will
 15       drew the map so he could see whether things were
 16       produced or not.        So we all looked at the map, but
 17       he was actually drawing a map so that's pretty much
 18       a no brainer to draw a map that's contiguous.
 19                  Q.   And what about communities of interest?
 20       Who would have taken responsibility to ensure that
 21       those kind of guideline criteria respecting
 22       communities of interest was respected, reflected in
 23       the initial Staff Plan?
 24                  A.   I think it would have been a kind of
 25       everybody in the room discussion.

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  1                  Q.   And what about constituent consistency?
  2       Who would have been responsible for making that
  3       determination?
  4                  A.   Again, everybody in the room
  5       discussion.       And by seeing the map, you know, which
  6       didn't change a lot of lines -- just about anybody
  7       could make that initial change -- but again, this
  8       was a first staff map so I don't know that we
  9       really were cognizant of everything because we knew
 10       it was going to change.            We knew the numbers were
 11       going to change it.
 12                  Q.   And who would have been responsible for
 13       determining whether the plan minimized divisions of
 14       counties, cities and towns, and/or splits of VTDs?
 15                  A.   I think those are again numbers that
 16       really would have happened but not determined.
 17       It's just what the numbers were.
 18                  Q.   And district compactness?
 19                  A.   Compactness?
 20                  Q.   District compactness.
 21                  A.   Yeah.    I mean, I guess, you know,
 22       everybody in the room kind of again looked at it
 23       knowing that we were going to have many changes.
 24       And all this would have gone on the back end up to
 25       Charlie Terreni and John Gore.

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  1                  Q.   And do you know why the version that
  2       became Campsen 1, why that was the one selected
  3       from among the other iterations that may have led
  4       up to it?
  5                  A.   I seem to recall that's the one he
  6       wanted to offer as an amendment.
  7                  Q.   And it was his call?
  8                  A.   I think he offered it as an amendment.
  9       I don't remember.        That would make sense.                I mean,
 10       it had to be offered as an amendment and so I think
 11       he offered it as an amendment.
 12                  Q.   And did this map also go to the -- you
 13       mentioned Mr. Terreni was in the room with Senator
 14       Campsen or on phone calls with Senator Campsen when
 15       this was developed.          Was this map also sent to
 16       Mr. Gore to review?
 17                  A.   Yes.    I'm sure.
 18                  Q.   Before it was offered?
 19                  A.   Yes.    I'm sure.
 20                  Q.   Okay.    Was there a subsequent version
 21       of a map developed after it went up to Gore,
 22       Mr. Gore?
 23                  A.   I don't remember.             I don't remember.
 24       If there was, it was something that was minor
 25       tweaked or if it was anything major, it would have

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  1       gone back up.      So nothing would have ended up being
  2       passed out at a subcommittee or passed out at a
  3       full committee if it had not been, you know, across
  4       Mr. Gore's desk.
  5                  Q.   In the six or so maps that we've been
  6       talking about, we talked about at the beginning,
  7       one of those six would have included this Campsen
  8       map, Campsen 1?
  9                  A.   Of those six, I'm not sure what you
 10       mean.      The ones that I previously said that I think
 11       there was about a dozen maps and then you corrected
 12       me and said it was really only seven.                    Is that what
 13       you're talking about?
 14                  Q.   So I thought that there were six maps
 15       or six or so maps that were sent up to Mr. Gore.
 16       Is that the number that you recall?
 17                  A.   I don't remember exactly.                It was
 18       somewhere in that neighborhood.                    Six to ten maps
 19       were sent up, I think.            That could be me not
 20       remembering.
 21                  Q.   Okay.    Because the seven I think we
 22       were referencing were my representation I think
 23       there were about seven maps introduced by the
 24       public.
 25                  A.   That's right.          Yeah.        Thank you.

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  1       recall this specifically, but I would be pretty
  2       sure that we would have run this by John Gore as
  3       well, but I don't recall that specifically.
  4                  Q.    There's a paragraph titled Adherence to
  5       the Voting Rights Act on page 22529.
  6                  A.    Uh-huh.
  7                  Q.    Do you think that Mr. Roberts was in a
  8       position to determine adherence to the Voting
  9       Rights Act?
 10                  A.    I think he's expressing his opinion,
 11       but I don't know that it was determined.
 12                  Q.    And is that the same with the next
 13       portion entitled Avoidance of racial
 14       gerrymandering?       Is that Mr. Roberts' opinion on
 15       that?
 16                  A.    I think that's an accurate way to
 17       describe it.       That's his opinion.
 18                  Q.    Do you agree with it?
 19                  A.    I haven't had a chance to read the
 20       whole thing in a long time.              So as I sit here, I
 21       don't know that I have the resources to tell you in
 22       the next ten minutes.          And plus, like I said, I
 23       don't recall even in realtime responding to this
 24       document.       So if this is something that Senator
 25       Campsen wanted me to weigh in on, he did not ask me

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  1                         CERTIFICATE OF REPORTER
  2
  3                     I, Karen M. Beckman, Court Reporter and
  4       Notary Public for the State of South Carolina at
  5       Large, do hereby certify that the foregoing
  6       transcript is a true, accurate, and complete record
  7       to the best of my ability.
  8                     I further certify that I am neither
  9       related to nor counsel for any party to the cause
 10       pending or interested in the events thereof.
 11                     Witness my hand, I have hereunto
 12       affixed my official seal this 26th day of July,
 13       2022, at Myrtle Beach, Horry County,
 14       South Carolina.
 15
 16
 17
 18
 19
 20                         <%21881,Signature%>
 21
 22
 23                             Karen M. Beckman
                                Court Reporter
 24                             My Commission expires
                                September 2, 2025
 25

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  2      Andrew Theodore Fiffick (#5327918)

  3                       E R R A T A    S H E E T

  4      PAGE_____ LINE_____ CHANGE________________________

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 21      REASON____________________________________________

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 23      ________________________________      _______________

 24      Andrew Theodore Fiffick                                 Date

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  1      South Carolina State Conference Of Naacp v. Alexander, Thomas C. Et Al

  2      Andrew Theodore Fiffick (#5327918)

  3                     ACKNOWLEDGEMENT OF DEPONENT

  4          I, Andrew Theodore Fiffick, do hereby declare that I

  5      have read the foregoing transcript, I have made any

  6      corrections, additions, or changes I deemed necessary as

  7      noted above to be appended hereto, and that the same is

  8      a true, correct and complete transcript of the testimony

  9      given by me.

 10

 11      ______________________________       ________________

 12      Andrew Theodore Fiffick                              Date

 13      *If notary is required

 14                        SUBSCRIBED AND SWORN TO BEFORE ME THIS

 15                        ______ DAY OF ________________, 20___.

 16

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